                              Case 4:11-cr-00111-BD Document 32 Filed 11/08/11 Page 1 of 4
A0245B         (Rev. 09/11) Judgment in a Criminal Case
              Sheet!                                                                                                   1=11 en
===="';;:~~============================mO~U"'R=T===
                                                                                                                EASTERN DISTRICT ARKANSAS
                                           UNITED STATES DISTRICT COURT                                             NOV0821
                                                           Eastern District Df Arkansas
                                                                                                        JAMESW,             0
              UNITED STATES OF AMERICA
                                                                         )
                                                                         )      JUDGMENT IN            it'tmmN~~~~?l'J1oicR5'i7K
                                   v.                                    )
                        DAVID METHENY                                    )
                                                                                Case Number: 4:11CR00111-02-BD
                                                                         )
                                                                         )      USMNumber:
                                                                         )
                                                                         )       Lott Rolfe, IV
                                                                                Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)             1 of the Information (misdemeanor)
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through         __4-'---_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) _ _ _ _ _ _ _ _ _ _ _ _ 0 is                          o are dismissed on the motion of the United States.
         It is ordered that the defendant nust notify the United States attorney for this district within 30 days of any change of na"", residence,
or mailing address until all fines, restitution, costs, and speml assessments imposed by this judgment are fully paid. lfurdered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          Beth Deere                                  U. S. Magistrate Judge
                                                                         Name of Judge                              Title of Judge


                                                                          11/8/2011
                                                                         Date
                                Case 4:11-cr-00111-BD Document 32 Filed 11/08/11 Page 2 of 4
AD 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 4-Probation

                                                                                                           Judgment-Page _~2_ of               4
DEFENDANT: DAVID METHENY
CASE NUMBER: 4:11 CR00111-02-BD
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:

 One year




The defendant shall not commit another federal, state or local crime.
  The defendant shall not nnlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall snomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
riI The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
o        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

o        The defendant shall cooperate in the collection ofONA as directed by the probatinn officer. (Check, ifapplicable.)

o        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as direc.ted by the probatIon offiger, the Bureal! of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a qualIfymg offense.   (Check, if applicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
       Ifthis judg"?ent imposes a fine or restitution, it is a conditbn of probation that the defendant pay in accordance with the Smedule of
Payments sheet oflhlS Judgment.
         The defendant must comply with the standard conditions that hwe been adopted bythis COUlt as well as with any additionalconditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, a rather
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, nse, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the prooatlOn officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 II)      the defendant shall notify the probationofficer within seventy-two hours of being arrested or questioned by a law enforcen.nt officer;
 12)      the d~f~ndant shall not enter into any agreem ent to act as an informer or a special agent of a law enforcem ent agency withont the
          permIssIOn of the court; and
 13)      as directed by the probation officer, the defendant shall notiy third parties ofrisks that may be occasioned by the defendmt's criminal
          record or r.ersonaf history or characteristics and shall perm it the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                         Case 4:11-cr-00111-BD Document 32 Filed 11/08/11 Page 3 of 4
AD 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4A - Probation

                                                                                             Judgment-Page _~3_ of       4
DEFENDANT: DAVID METHENY
CASE NUMBER: 4:11 CR00111-02-BD

                                              ADDITIONAL PROBATION TERMS
 Disclosure of financial information upon request of the U. S. Probation Office.

 Forfeiture of interest in five gill nets seized by the Arkansas Game and Fish Commission.

 One hundred sixty (160) hours of community service to be completed during the probation term. The location for the
 community service will be determined by the probation officer.

 A fine of One Thousand Dollars ($1,000.00) payable during the probation term. Beginning the first month of probation,
 payment will be at least Eighty-Three Dollars ($83.00).

 A Twenty-Five Dollar ($25.00) special penalty assessment.
                            Case 4:11-cr-00111-BD Document 32 Filed 11/08/11 Page 4 of 4
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment -   Page    4   of   4
DEFENDANT: DAVID METHENY
CASE NUMBER: 4:11CR00111-02-BD
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                         Fine                                     Restitution
TOTALS             $ 25.00                                             $ 1,000.00                               $ 0.00


 o The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.                             ~----

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximatel~ proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.




TOTALS                               $                         0.00           $                        0.00


o     Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'it The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    rot the interest requirement is waived for the 'it fine 0 restitution.
      o the interest requirement for the              o fine   0      restitution is modified as follows:



• Findings for the total aImunt of losses are required under ChaIhers 109A, 110, IIOA, and Il3A of Title 18 fooffenses committed on or after
Septemlier 13, 1994, but before April 23, 1996.
